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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
MARK W. DOBRONSKI, case ee To Hood, Denise Page
an individual, Referral Judge: Altman, Kimberly G.

Assign. Date : 5/25/2023
Description: CMP DOBRONSKI V.
nti MILBERG COLEMAN BRYSON
Plaintiff, PHILLIPS GROSSMAN, PLLC ET AL (NA)

Vv.

MILBERG COLEMAN BRYSON
PHILLIPS GROSSMAN, PLLC,
a Tennessee limited liability company,

MARC J. BERN & PARTNERS LLP,
a New York limited liability partnership,

BIRGER KRISTIAN W. RASMUSSEN ITI,
a/k/a KRISTIAN RASMUSSEN,
an individual, and

PATRICK MATTHEW WALLACE,
an individual,

Defendants.

 

COMPLAINT
NOW COMES the Plaintiff, MARK W. DOBRONSKI, appearing in propria
persona, and for his complaint against Defendants alleges:
1. This matter arises under the Telephone Consumer Protection Act of 1991
(“TCPA”), 47 U.S.C. § 227, et seq., the Michigan Telephone Companies as Common

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Carriers Act (““MTCCCA”), M.C.L. § 484.101, et seg., and the Michigan Home
Solicitation Sales Act (“MHSSA”), M.C.L. § 445.101, et seq.
Parties

2. Plaintiff is an individual, of the age of majority, a citizen of the United
States of America, is a resident of and has a place of business in Orange County,
Florida, has a place of business and residence in Washtenaw County, Michigan, and
has a place of business in Wayne County, Michigan.

3. Upon information and belief, Defendant MILBERG COLEMAN BRYSON
PHILLIPS GROSSMAN, PLLC (“Milberg”), is a limited liability company organized
and existing under the laws of the State of Tennessee, with a principal office located
at 800 South Gay Street, Suite 1100, Knoxville, Tennessee 37929-9726, and is
qualified to transact business in the State of Michigan, with a registered office located
at 2222 West Grand River Avenue, Suite A, Okemos, Michigan 48864-1604.

4. Upon information and belief, Defendant MARC J. BERN & PARTNERS
LLP (“Bern”), is a limited liability partnership organized and existing under the laws
of the State of New York, with a principal office address located at 60 East 42"
Street, Suite 950, New York, New York 10165-0950.

5. Upon information and belief, Defendant Birger Kristian W. Rasmussen III

(“Rasmussen”), is also known as Kristian Rasmussen, is an individual, is of the age

 

 
   
 
   
     
     
   
   
   
   
   
   
   
   
   
     
    
   
     
    

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of majority, is not in the military service, and resides at 6917 Collins Avenue,
Apartment 1505, Miami Beach, Florida 33141-3298.

6. Upon information and belief, Defendant Patrick Matthew Wallace
(“Wallace”), is an individual, is of the age of majority, is not in the military service,
and resides at 10105 Grafton Road, Raleigh, North Carolina 27615-1142.
Jurisdiction
7. This Court has jurisdiction over the subject matter of this complaint
pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
8. This Court has limited personal jurisdiction over Defendants Milberg and
Bern, pursuant to M.C.L. § 600.715, as a result of the defendants transacting any
business within the state; and/or doing or causing any act to be done, or consequences
to occur, in the state resulting in an action for tort; and/or contracting to insure any
person, property, or risk located within this state at the time of contracting.

9. This Court has limited personal jurisdiction over Defendants Rasmussen and
Wallace, pursuant to M.C.L. § 600.705, as a result of the defendants transacting any
business within the state; and/or doing or causing any act to be done, or consequences
to occur, in the state resulting in an action for tort; and/or contracting to insure any
person, property, or risk located within this state at the time of contracting.

10. This Court has limited personal jurisdiction over Defendants Milberg and
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Bern, pursuant to M.C.L. § 600.715, as a result of the defendants transacting any
business within the state; and/or doing or causing any act to be done, or consequences
to occur, in the state resulting in an action for tort; and/or contracting to insure any
person, property, or risk located within this state at the time of contracting.
Venue

11. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(2), as the
tortious or illegal telephone calls complained of herein were received in this judicial
district.

Preliminary Statement

12. As the Supreme Court recently explained, “Americans passionately
disagree amount many things. But they are largely united in their disdain for
robocalls.” Barr v. American Association of Political Consultants LLC, 140 S. Ct.
2335, 2343 (2020).

13. The Federal Government receives a staggering number of complaints about
robocalls — 3.7 million complaints in 2019 alone. Jd.

14. Inresponse to widespread public outrage over intrusive telemarketing calls
to homes and businesses, the United States Congress acted to prevent persons, like
Defendant, from invading American citizen’s privacy and to prevent abusive “robo-

calls” by enacting the TCPA.
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15. According to the Federal Communications Commission (“FCC”),
“Unwanted calls and texts are the number one complaint to the FCC.”

16. In regard to such telephone solicitations, Senator Hollings of South
Carolina, the primary sponsor of the TCPA, explained, “computerized calls are the
scourge of modern civilization. They wake us up in the moming; they interrupt our
dinner at night; they force the sick and elderly out of bed; they hound us until we
want to rip the telephone right out of the wall... these computerized telephone calls
threaten our personal safety... These machines are out of control, and their use is
growing by 30 percent every year. It is telephone terrorism, and it has got to stop....”
See In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, 17 FCC Rcd. 17459, 17474, fn. 90 (2002), quoting 137 Cong.
Rec. 30,821-30,822 (Nov. 7, 1991).

17. According to YourMail, Inc., a company which tracks robocall activity and
publishes the YouMail Robocall Index, during calendar year 2021 alone, American
consumers were bombarded with over 50.5 billion robocalls; an average of over 150
robocalls to each man, woman, and child. [Source: www.robocallindex.com ].

18. In 2021, nearly 1 in 3 Americans say they have fallen victim to a phone

scam in the past year, with reported losses to phone scams exceeding $29.8 Billion.

[Source: www.cndb.com/2021/06/29/americans-list-billions-of-dollars-to-phone-

 
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scams-over-the-past-year.html ].

19. Congress has found that interstate telemarketing fraud has become a
problem of such magnitude that the resources of the Government are not sufficient
to ensure adequate consumer protection from such fraud.

20. As aresult, in enacting the TCPA, Congress intentionally created a legally
enforceable bounty system, not unlike qui tam statutes, to incentivize the assistance
of aggrieved private citizens to act as “private attorneys general” in enforcing federal
law.

Telephone Consumer Protection Act

21. In 1991, Congress enacted the TCPA to restrict the use of sophisticated
telemarketing equipment that could target millions of consumers en masse. Congress
found that these calls were not only a nuisance and invasion of privacy to consumers
specifically, but were also a threat to interstate commence generally. See S. Rep. No.
102-178, at 2-3, 1991 U.S.C.C.A.N. 1968, 1969-71, 1991 WL 211220 (1991).

22. The TCPA imposes restrictions on the use of automated telephone
equipment. 47 U.S.C. § 227(b)(1).

23. Pursuant to authority delegated by Congress to the FCC under the TCPA
at 47 U.S.C. § 227(b)(2), the FCC has adopted regulations to implement these

requirements.
 

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24. The TCPA implementing regulations, at 47 C.F.R. 64.1200(a), promulgate
in relevant part:
“No person or entity may: ...

(7) Abandon more than three percent of all telemarketing
calls that are answered live by a person, as measured over
a 30-day period for a single calling campaign. If a single
calling campaign exceeds a 30-day period, the
abandonment rate shall be calculated separately for each
successive 30-day period or portion thereof that such
calling campaign continues. A call is “abandoned” if it is
not connected to a live sales representative within two (2)
seconds of the called person's completed greeting.

(i) Whenever a live sales representative is not available to
speak with the person answering the call, within two (2)
seconds after the called person's completed greeting, the
telemarketer or the seller must provide:

(A) A prerecorded identification and opt-out message that
is limited to disclosing that the call was for “telemarketing
purposes” and states the name of the business, entity, or
individual on whose behalf the call was placed, and a
telephone number for such business, entity, or individual
that permits the called person to make a do-not-call request
during regular business hours for the duration of the
telemarketing campaign; provided, that, such telephone
number may not be a 900 number or any other number for
which charges exceed local or long distance transmission
charges, and

(B) An automated, interactive voice- and/or key
press-activated opt-out mechanism that enables the called
person to make a do-not-call request prior to terminating
the call, including brief explanatory instructions on how to
use such mechanism. When the called person elects to

 
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opt-out using such mechanism, the mechanism must
automatically record the called person's number to the
seller's do-not-call list and immediately terminate the call...

(iii) The seller or telemarketer must maintain records
establishing compliance with paragraph (a)(7) of this
section....”

25. The TCPA, at 47 U.S.C. 227(b)(3), provides for a private right of action,
as follows:
“Private right of action

A person or entity may, if otherwise permitted by the laws
or rules of court of a State, bring in an appropriate court of
that State--

(A) an action based on a violation of this subsection or
the regulations prescribed under this subsection to
enjoin such violation,

(B) an action to recover for actual monetary loss from such
a violation, or to receive $500 in damages for each such
violation, whichever is greater, or

(C) both such actions.

If the court finds that the defendant willfully or knowingly
violated this subsection or the regulations prescribed under
this subsection, the court may, in its discretion, increase the
amount of the award to an amount equal to not more than
3 times the amount available under subparagraph (B) of
this paragraph.”

26. Congress has also delegated authority under the TCPA to the FCC to

implement regulations to protect residential telephone subscribers’ provact rights to
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avoid receiving telephone solicitations to which they object. 47 U.S.C. § 227(c)(1).

27. The TCPA regulations, at 47 C.F.R. § 64.1200(c), promulgate in relevant
part:

“No person or entity shall initiate any telephone
solicitation to: ...

“(2) A residential telephone subscriber who has registered
his or her telephone number on the national do-not-call
registry of persons who do not wish to receive telephone
solicitations that is maintained by the Federal
Government....”

28. The TCPA regulations, at 47 C.F.R. 64.1200(d), further promulgate:

‘No person or entity shall initiate any call for telemarketing
purposes to a residential telephone subscriber unless such
person or entity has instituted procedures for maintaining
a list of persons who request not to receive telemarketing
calls made by or on behalf of that person or entity. The
procedures instituted must meet the following minimum
standards:

(1) Written policy. Persons or entities making calls for
telemarketing purposes must have a written policy,
available upon demand, for maintaining a do-not-call list.

(2) Training of personnel engaged in telemarketing.
Personnel engaged in any aspect of telemarketing must be
informed and trained in the existence and use of the
do-not-call list.

(3) Recording, disclosure of do-not-call requests. If a
person or entity making a call for telemarketing purposes

 
  

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(or on whose behalf such a call is made) receives a request
from a residential telephone subscriber not to receive calls
from that person or entity, the person or entity must record
the request and place the subscriber's name, if provided,
and telephone number on the do-not-call list at the time the
request is made. Persons or entities making calls for
telemarketing purposes (or on whose behalf such calls are
made) must honor a residential subscriber's do-not-call
request within a reasonable time from the date such request
is made. This period may not exceed thirty days from the
date of such request. If such requests are recorded or
maintained by a party other than the person or entity on
whose behalf the telemarketing call is made, the person or
entity on whose behalf the telemarketing call is made will
be liable for any failures to honor the do-not-call request.
A person or entity making a call for telemarketing purposes
must obtain a consumer's prior express permission to share
or forward the consumer's request not to be called to a
party other than the person or entity on whose behalf a
telemarketing call is made or an affiliated entity.

(4) Identification of sellers and telemarketers. A person or
entity making a call for telemarketing purposes must
provide the called party with the name of the individual
caller, the name of the person or entity on whose behalf the
call is being made, and a telephone number or address at
which the person or entity may be contacted. The telephone
number provided may not be a 900 number or any other
number for which charges exceed local or long distance
transmission charges. . .

(6) Maintenance of do-not-call lists. A person or entity
making calls for telemarketing purposes must maintain a
record of a consumer's request not to receive further
telemarketing calls. A do-not-call request must be honored
for 5 years from the time the request is made... .”

29. The TCPA regulations at, 47 C.F.R. § 64.1601(e), additionally promulgate

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in relevant part:

“Any person or entity that engages in telemarketing, as
defined in section 64.1200(f)(10) must transmit caller
identification information.

(1) For purposes of this paragraph, caller identification
information must include either CPN or ANI, and,
when available by the telemarketer's carrier, the name
of the telemarketer. It shall not be a violation of this
paragraph to substitute (for the name and phone number
used in, or billed for, making the call) the name of the
seller on behalf of which the telemarketing call is placed
and the seller's customer service telephone number. The
telephone number so provided must permit any
individual to make a do-not-call request during regular
business hours.

(2) Any person or entity that engages in telemarketing is
prohibited from blocking the transmission of caller
identification information.” [Emphasis added. ]

30. The TCPA, at 47 U.S.C. § 227(c)(5), provides for a private right of action,
as follows:

“Private right of action. A person who has received more
than one telephone call within any 12-month period by or
on behalf of the same entity in violation of the regulations
prescribed under this subsection may, if otherwise
permitted by the laws or rules of court of a State bring in an
appropriate court of that State—

(A) an action based on a violation of the regulations
prescribed under this subsection to enjoin such violation,

(B) an action to recover for actual monetary loss from such
a violation, or to receive up to $500 in damages for each

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31. The Michigan Legislature, like many other state legislatures, has enacted

such violation, whichever is greater, or
(C) both such actions.

It shall be an affirmative defense in any action brought
under this paragraph that the defendant has established and
implemented, with due care, reasonable practices and
procedures to effectively prevent telephone solicitations in
violation of the regulations prescribed under this
subsection. If the court finds that the defendant willfully or
knowingly violated the regulations prescribed under this
subsection, the court may, in its discretion, increase the
amount of the award to an amount equal to not more than
3 times the amount available under subparagraph (B) of
this paragraph.”

Michigan Telemarketing Laws

their own laws to combat abusive telemarketing.

32. Congress has expressly declared that these state laws are not federally

preempted. 47 U.S.C. § 227(f)(1).

33. The MTCCCA, at M.C.L. § 484.125, promulgates in relevant part as

follows:

“(2) A caller shall not use a telephone line to contact a
subscriber at the subscriber’s residence, business, or toll-
free telephone number to do either of the following: ...

(b) Deliver or attempt to deliver intrastate commercial
advertising if the caller activates a feature to block the
display of caller identification information that would
otherwise be available to the subscriber...

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(5) A subscriber contacted by a caller in violation of this
section may bring an action to recover damages of
$1,000.00, together with reasonable attorneys' fees...

(9) A caller who violates this section is guilty of a
misdemeanor, punishable by a fine of $1,000.00 or
imprisonment for 10 days, or both.”

34. The MHSSA, at M.C.L. § 445.111a(5), promulgates:

“... A telephone solicitor shall not make a telephone
solicitation to a residential telephone subscriber whose
name and residential telephone number is on the
then-current version of the federal [do-not-call] list.”

35. The MHSSA, at M.C.L. § 445.111b, promulgates in relevant part:

“(1) At the beginning of a telephone solicitation, a person
making a telephone solicitation to a residential telephone
subscriber shall state his or her name and the full name of
the organization or other person on whose behalf the call
was initiated and provide a telephone number of the
organization or other person on request. A natural person
must be available to answer the telephone number at any
time when telephone solicitations are being made.

(2) The person answering the telephone number required
under subsection (1) shall provide a residential telephone
subscriber calling the telephone number with information
describing the organization or other person on whose
behalf the telephone solicitation was made to the
residential telephone subscriber and describing the
telephone solicitation.

(3) A telephone solicitor shall not intentionally block or

otherwise interfere with the caller ID function on the
telephone of a residential telephone subscriber to whom a

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telephone solicitation is made so that the telephone number
of the caller is not displayed on the telephone of the
residential telephone subscriber.”

36. The MHSSA, at M.C.L. § 445.11lc, promulgates in relevant part as
follows:
“(1) It is an unfair or deceptive act or practice and a
violation of this act for a telephone solicitor to do any of

the following...

(f) Fail to comply with the requirements of section la or
1b.

(2) ... [A] person who knowingly or intentionally violates

this section is guilty of a misdemeanor punishable by

imprisonment for not more than 6 months or a fine of not

more than $500.00, or both.

(3) A person who suffers loss as a result of violation of this

section may bring an action to recover actual damages or

$250.00, whichever is greater, together with reasonable

attorney fees.”

FACTUAL BACKGROUND
37. Plaintiffs residential and cellular telephone lines have been besieged with

telemarketing calls hawking such things as alarm systems, Google listings,
automobile warranties, health insurance, life insurance, credit cards, and even
financial miracles from God. Some calls are blatant scams, including calls

purportedly from the Social Security Administration, the U.S. Drug Enforcement

Administration, and other government agencies, claiming that arrest warrants have

 

 
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been issued against Plaintiff for alleged drug trafficking and money laundering
activities.

38. Plaintiff's residential telephone number is 734-***-1000.

39. Plaintiffs residential telephone number 734-***-1000 is listed on the
National Do Not Call Registry maintained by the United States Federal Trade
Commission pursuant to 16 C.F.R. Part 310 and has been so listed continuously since
at least May 27, 2022 and at all times subsequent thereto.

40. By listing his residential telephone number on the National Do Not Call
Registry, Plaintiff has given constructive notice to the world, including each and
every one of the Defendants, that Plaintiff does not wish to receive telephone
solicitations or robocalls at his residential telephone number.

41. The FCC has issued a declaratory ruling defining “called party” as “the
subscriber, i.e., the consumer assigned the telephone number dialed and billed for the
call, or the non-subscriber customary user of a telephone number included in a family
or business calling plan.” Jn the Matter of Rules & Regulations Implementing the Tel.
Consumer Prot. Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135, FCC
15-72, 2015 WL 4387780, at *26 J 73 (FCC July 10, 2015).

42. Plaintiff is the subscriber to and a customary user of the called telephone

lines, is the one that was the actual recipient of the telephone calls at issue in this

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complaint, and suffered the nuisance and invasion of privacy of same. Thus, Plaintiff
has standing to bring this action for alleged violations of TCPA’s robocall provisions.
See Leyse v. Bank of America Nat. Ass'n, 804 F.3d 316, 324 (C.A.3, 2015).

43. At no time relevant hereto has Plaintiff or any other authorized person
requested, consented, permitted, or authorized the contact from the Defendants.

44. At no time has Plaintiff provided permission to the Defendants to engage
in telephone solicitation with the Plaintiff via telephone.

45. Pursuant to 47 U.S.C. § 217, the act, omission, or failure of any officer,
agent, or other person acting for or employed by an common carrier or user, acting
within the scope of his employment, shall in every case also be deemed to be the act,
omission, or failure of such carrier or user as well as that of the person.

46. Courts are legally bound to give great deference to the FCC’s
interpretations of the TCPA and its own regulations.

47. Atno time has Plaintiff provided “prior express consent” or “prior express
written consent” (as those terms are defined under the TCPA and as interpreted by the
FCC) for any of the Defendants or anyone acting on behalf of the Defendants to
initiate any telephone call that includes or introduces an advertisement or constitutes
telemarketing, using an automatic telephone dialing system or an artificial or

prerecorded voice, to Plaintiffs residential telephone number.

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48. At no time has Plaintiff had an “established business relationship” (as that
term is defined under the TCPA and as interpreted by the FCC) with any of the
Defendants.

49. The FCC has declared that “[p]urporting to obtain consent during the call...
does not constitute the prior consent necessary to deliver the message in the first
place as the request... is part of the telemarketing.” See In re Rules and Regulations
Implementing the TCPA, 18 FCC Rcd. 14014, 14019, 2003 WL 21517853, at *49, |
142 (June 26, 2003)[Emphasis as in original. ]

50. The FCC has clarified that sellers may be held vicariously liable for
violations of the TCPA by third-party telemarketers that initiate calls to market the
seller’s products or services, declaring as follows:

“[A] company on whose behalf a telephone solicitation is

made bears the responsibility for any violation of our

telemarketing rules and calls placed by a third party on

behalf of that company are treated as if the company itself

placed the call.”
In re Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, Declaratory Ruling, 20 FCC Red 13664, 13667, § 7 (2005).

51. Parties are acting in concert when they act in accordance with an

agreement to cooperate in a particular line of conduct or to accomplish a particular

result. The agreement need not be expressed in words or may be implied and

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understood to exist from the conduct itself. Whenever two or more persons commit
tortious acts in concert, each become subject to liability for the acts of the others, as
well as for his own acts.

52. The liability of coconspirators to civil damages is joint and several. All
those who, in pursuance of a common plan to commit a tortious act actively take part
in it and further it by cooperation or request, or who lend aid or encouragement to the
wrongdoer, or who ratify and adopt the acts done for their benefit, are equally liable
with him.

53. For each and every call alleged herein initiated to Plaintiffs telephone line,
Plaintiff suffered the injury of invasion of privacy and intrusion on Plaintiff's right
of seclusion.

54. For each and every call alleged herein initiated to Plaintiff's telephone line,
Plaintiff suffered the injury of the occupation of the telephone line by unwelcome
calls, making the phone unavailable for legitimate callers or outgoing calls, including
emergency calls, when the telephone line was seized by Defendant’s calls.

55. For each and every call alleged herein initiated to Plaintiff's telephone line,
Defendants caused an injury in the form of a nuisance and annoyance to the Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to deal with missed call

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notifications and call logs that reflected the unwanted calls. This also impaired the
usefulness of these features on Plaintiff's telephone, which features are designed to
inform the user of important missed communications.

56. Each and every call placed without consent by Defendants alleged herein
to Plaintiffs telephone lines resulted in the injury of a trespass to Plaintiffs chattel,
namely Plaintiffs telephone line and its telephone services.

57. For purposes of the TCPA, the FCC has defined “willfully or knowingly”
to mean that the violator knew that he was doing the act in question, in this case,
initiating a telephone solicitation, irrespective of any intent to violate the law. A
violator need not know that his action or inaction constitutes a violation; ignorance
of the law is not a defense or mitigating circumstance.

The Concert of Action

58. An estimated one million people who were stationed at Camp Lejeune in
North Carolina from 1953 to 1987 may have been exposed to contaminated drinking
water that can cause cancer, birth defects, miscarriages, and other serious health
problems and are now eligible to be part of the Camp Lejeune water contamination
lawsuit and entitled to compensation for any injuries, illnesses, diseases, and health
conditions allegedly caused by the contaminated water.

59. Defendants Milberg and Bern are law firms which engage in, inter alia,

  
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representing clients in mass tort litigation cases and, in particular, the Camp Lejeune
water contamination lawsuit.

60. Defendants Rasmussen and Wallace are attorneys-at-law in the employ of
Defendant Milberg who seek to represent clients in the Camp Lejeune water
contamination lawsuit.

61. Defendants are engaged in soliciting members of the public to be
represented by Defendants in filing claims and lawsuits and other matters arising out
of and suffered by individuals related to Camp Lejeune or other military toxic
exposure.

62. In general, lawyers are prohibited from soliciting clients in person, on the
telephone, and through real-time electronic communication, unless the person the are
talk to is: a lawyer, a family member, close friend, or prior business associate; or
someone who routinely uses similar legal services for their business. American Bar
Association (“ABA”) Model Rules Prof. Conduct 7.3.

63. Defendants utilize third-party telemarketers to initiate telephone calls en
masse using automated telephone dialing platforms to solicit consumers to utilize
Defendants’ legal services.

64. Defendants approved the contracts with and pay the third-party

telemarketers to engage in the illegal telephone solicitations.

 
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65. The third-party telemarketers will call and query consumers to determine
if they meet the pre-qualification criteria set by Defendants to be a suitable plaintiff
in the Camp Lejeune water contamination cases.

66. If, at any point in the telephone solicitation, the called consumer fails to
meet the designated pre-qualification criteria, the third-party telemarketer will
immediately terminate the call and move on to initiating another call to another
consumer.

67. Ifthe called consumer meets the pre-qualification criteria, the third-party
telemarkter will then transfer the call to a “verifier” to make a second review of the
pre-qualification criteria with the consumer.

68. Once the consumer has been pre-qualified and verified, the consumer is
informed that an “attorney’s agent” will be coming to the consumer’s residence to
further discuss legal representation of the consumer.

69. A courier (usually, a mobile notary public) is then promptly engaged,
transmitted a representation agreement, and dispatched to the residence of the
consumer to have the consumer sign the representation agreement.

70. It is only after the courier arrives at the consumer’s residence is the
consumer able to determine the names of the attorneys or law firm.

71. Defendants instruct their third-party telemarketers to identify with generic

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references to “Camp Lejeune” and not identify with any identifiable business name
in order to conceal their true identity and evade liability for, inter alia, TCPA
violations.

72. Ifa consumer seeks better identification from the third-party telemarketer,
the telemarketer will avoid providing any information or will hang up. This is done
because the Defendants and their third-party telemarketers all know that the entire
concert of action which they are engaged in is illegal.

73. To further conceal identities, the third-party telemarketer will falsify or
“spoof” their caller identification number information such that the called party is
unable to call the third-party telemarketer back.

74. Defendants willfully and knowingly violate the TCPA because doing so
benefits them financially when they generate new clients through illegal
telemarketing.

75. Defendants know that the telephone solicitations being made on their
behalf soliciting their legal services violate the TCPA.

76. Defendant Milberg is fully cognizant of the illegal nature of the telephone
solicitations and the illegal activities of their third-party telemarketers as Defendant
Milberg has been previously haled into federal courts on at least two occasions for

nearly identical illegal conduct in violation of the TCPA and state consumer

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protection laws as alleged in this complaint. Despite being haled into court for TCPA
violations, Defendant Milberg still continues with its illegal telephone solicitations.

77. Defendants personally authorized, directed, had control over, and
participated in the telephone solicitation activities by accepting the representation
agreements which are produced as a result.

78. Defendants derive substantial financial benefits the telephone solicitations
and the resultant representation agreements.

79. Because telemarketers engaged in illegal telephone solicitations utilize
deceptive practices designed to conceal their actual identities, Plaintiff has had to
resort to various investigative techniques to identify the sources of the telemarketing
calls being received.

80. One investigative technique utilized by Plaintiff is termed a “canary trap”,
wherein Plaintiff provides false, but unique, identifying information during each
received call, in particular a unique name. If and when that unique information
surfaces at a later date, a tie-in between the two events, and hence the ability to
identify the source call, is able to be made.

81. As discovery progresses in this case and Plaintiff is able to learn the
identity or identities of the third-party telemarketers centers that Defendants have

utilized to initiate the telephone solicitations, Plaintiff will seek to amend this

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complaint to add the third-party telemarketers as additional named defendants.

82. Also as discovery progresses in this case, Plaintiff anticipates learning of
additional telephone solicitation calls for which Defendants or Defendants’ third-
party telemarketers are responsible, at which time Plaintiff will seek to amend this

complaint to supplement the damages claims.

Call 1

 

83. On March 31, 2023, at approximately 2:18 P.M., Defendants or
Defendants’ third-party telemarketer initiated a telephone solicitation call to
Plaintiff's residential telephone number 734-***-1000.

84. The caller identification number displayed was 734-846-5514.

85. Upon answering the telephone call, Plaintiff observed a 4-5 second delay
after saying “hello”, followed by a “boink” and clicking sound, and then a live
telemarketer came onto the line and identified himself as “Alex calling on behalf of
Camp Lejeune.”

86. Alex began attempting to ask pre-qualification questions of Plaintiff.

87. In response to an answer, Alex stated that Plaintiff did not qualify.

88. Plaintiff told Alex that Plaintiffs telephone number was on the national
do-not-call list.

89. Alex stated “you mother fucker” and hung up.

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90. After the call terminated, Plaintiff dialed the caller identification number
displayed (734-846-5514) and found that the telephone number belonged to a private
citizen who knew nothing about Camp Lejeune.

Call 2

 

91. On April 26, 2023, at approximately 9:12 A.M., Defendants or Defendants’
third-party telemarketer initiated a telephone solicitation call to Plaintiff's residential
telephone number 734-***-1000.

92. The caller identification number displayed was 734-753-4165.

93. Upon answering the telephone call, Plaintiff observed a 4-5 second delay
after saying “hello”, followed by a “boink” and clicking sound, and then a live
telemarketer came onto the line and identified himself as “John calling on behalf of
Camp Lejeune.”

94. “John” began attempting to ask pre-qualification questions of Plaintiff.

95. Suddenly, “John” exclaimed “oh!” and hung up.

96. After the call terminated, Plaintiff dialed the caller identification number
displayed (734-753-4165) and the telephone number dialed simply rang and was not
answered.

Call 3

 

97. On May 3, 2023, at approximatley 10:15 A.M., Defendants or Defendants’

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third-party telemarketer initiated a telephone solicitation call to Plaintiff's residential
telephone number 734-***-1000.

98. The caller identification number displayed was 734-926-9979.

99. Upon answering the telephone call, Plaintiff observed a 4-5 second delay
after saying “hello”, followed by a “boink” and clicking sound, and then a live
telemarketer came onto the line and identified himself as “Ricky calling on behalf of
Camp Lejeune.”

100. “Ricky” began attempting to ask pre-qualification questions of Plaintiff.

101. After asking the pre-qualification questions, Ricky then explained that
he was transferring the call to “a licensed agent”.

102. Plaintiffthen heard a “boink” sound and then a recorded message stating,
“This call cannot be completed.” This occurred two times.

103. Ricky then stated, “Sir, when is the best time to call you back?” and
immediately hung up without awaiting a response.

104. After the call terminated, Plaintiff dialed the caller identification number
displayed (734-926-9979) and received a reorder signal.

Call 4
105. On May 4, 2023, at approximately 2:59 P.M., Defendants or Defendants’

third-party telemarketer initiated a telephone solicitation call to Plaintiff's residential

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telephone number 734-***-1000.

106. The caller identification number displayed was 734-869-1668.

107. Upon answering the telephone call, Plaintiff observed a 4-5 second delay
after saying “hello”, followed by a “boink” and clicking sound, and then a live
telemarketer came onto the line and identified himself as “Ricky calling on behalf of
Camp Lejeune.”

108. As soon as Ricky introduced himself, the call suddenly terminated.

109. After the call terminated, Plaintiff dialed the caller identification number
displayed (734-869-1668), which call was answered by what would appear to be a
facsimile machine.

Call 5

 

110. On May 4, 2023, at approximately 5:51 P.M., Defendants or Defendants’
third-party telemarketer initiated a telephone solicitation call to Plaintiffs residential
telephone number 734-***-1000.

111. The caller identification number displayed was 734-586-6271.

112. Upon answering the telephone call, Plaintiff observed a 4-5 second delay
after saying “hello”, followed by a “boink” and clicking sound, and then a live
telemarketer came onto the line and identified himself as “Alex calling on behalf of

Camp Lejeune.”

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113. “Alex” began attempting to ask pre-qualification questions of Plaintiff.

114. Alex then stated that he was going to transfer the call and asked “please
stay on the line.”

115. Plaintiff was then transferred to recorded piano music and left on hold for
over 6 minutes, at which time Plaintiff hung up.

116. After the call terminated, Plaintiff dialed the caller identification number
displayed (734-586-6271) and the telephone number dialed simply rang and was not
answered.

Call 6

 

117. On May 5, 2023, at approximately 10:16 A.M., Defendants or
Defendants’ third-party telemarketer initiated a telephone solicitation call to
Plaintiffs residential telephone number 734-***-1000.

118. The caller identification number displayed was 734-926-1637.

119. Upon answering the telephone call, Plaintiff observed a 4-5 second delay
after saying “hello”, followed by a “boink” and clicking sound, and then a live
telemarketer came onto the line and identified himself as “Martin Peterson calling on
behalf of Camp Lejeune.”

120. Peterson began asking pre-qualification questions of Plaintiff.

121. Peterson then stated that he was transferring the call to his supervisor.

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122. Another telemarketer came on the line and identified himself as “Mark
Antonios” and repeated the pre-qualification questions.

123. Antonios stated that he was transferring the call to his “licensed agent.”

124. Plaintiff heard a “boink” sound and then a recorded message stating,
“This call cannot be completed.”

125. Antonios stated that his licensed agents were all busy and that he would
call back and hung up.

126. After the call terminated, Plaintiff dialed the caller identification number
displayed (734-926-1637) and received a recorded message stating, “The number you
have reached is no longer in service.”

Call 7

 

127. On May 18, 2023, at approximately 11:47 A.M., Defendants or
Defendants’ third-party telemarketer initiated a telephone solicitation call to
Plaintiffs residential telephone number 734-***-1000.

128. The caller identification number displayed was 734-540-7840 and the
caller identification name displayed was “V518114721000006".

129. Upon answering the telephone call, Plaintiff observed a 4-5 second delay
after saying “hello”, followed by a “boink” and clicking sound, and then a live

telemarketer came onto the line and identified himself as “Jack calling on behalf of

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Camp Lejeune.”

130. “Jack” began attempting to ask pre-qualification questions of Plaintiff.

131. Jack then stated that he was transferring the call to one of his specialists
in my local area and that “she” would take over the call.

132. Plaintiff then heard a “boink” sound and then ringing and then the call
was answered by a female identifying herself as “Romana Rey with the Camp
Lejeune Intake Center.”

133. Rey asked detailed qualifying questions of Plaintiff, to which Plaintiff
engaged in a “canary trap” and provided controlled responses, including the faux
name of Robert Krause, a false date of birth, and a false address.

134. It is significant to note that, at no time during this telephone call, did
Plaintiff provide his telephone number to the caller.

135. After the interview, Rey stated that her local associate would be coming
to my house that day to provide me with papers so that their lawyers could represent
me. She scheduled an appointment for 3:00 P.M.

136. Despite Plaintiffs efforts to get better identifying information from Rey
about the law firm or her company, Rey dodged all questions.

137. After the call terminated, Plaintiff dialed the caller identification number

displayed (734-540-7840) and the call was answered by a recording stating that “the

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number is longer in service” and terminated.

138. On May 18, 2023, at approximately 3:00 P.M., Plaintiff was contacted by
and met with a courier that had been sent by Defendants.

139. The courier identified himself as Jan Bond, a “mobile notary public.”

140. Bond presented an 18-page document to Plaintiff and sought Plaintiff's
signature. The document was pre-filled with the “canary trap” information that
Plaintiff had provided to Rey during Call 7, supra, to wit: the faux name, date of
birth, and address.

141. Bond informed Plaintiffthat Bern was now Plaintiff s legal representative
for the Camp Lejeune water case and that Plaintiff should not sign with any other
attorneys.

142. Plaintiff pointed out to Bond that the 18-page document was a contract
with Milberg, not Bern; to which Bond stated that he was only doing what he was
told and showed Plaintiff the written instructions that Bond had received from
Defendants.

143. The contract expressly provided that Plaintiff was “designat[ing] and
authoriz[ing] Kristian Rasmussen and Patrick Wallace, associated with the law office
of Milberg Coleman Bryson Phillips Grossman PLLC to represent me...”

144. Plaintiff informed Bond that Plaintiff would need a day or more to read

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through the 18-page document and that Plaintiff would contact Bond if and when
Plaintiff was ready to sign the document.
145. Plaintiff and Bond amicably departed the meeting.
Call 8

146. On May 18, 2023, at approximately 4:56 P.M., Defendants or
Defendants’ third-party telemarketer initiated a telephone solicitation call to
Plaintiffs residential telephone number 734-***-1000.

147. The caller identification number displayed was 615-667-9272.

148. Upon answering the telephone call, a live telemarketer came onto the line
and identified herself as “Romana Richard from the Camp Lejeune National Intake
Center.”

149. Romana asked to speak with the faux name that Plaintiff had provided
during Call 8, supra.

150. Romana stated that she was following up to make sure that Plaintiff had
met with Defendants’ courier and signed the document.

151. Plaintiff informed Romana that Plaintiff was reviewing the documents
and would be in contact with the courier in the next day or so.

152. Plaintiff sought clarification of Romana’s name. Romana now stated that

her name was Romana Rey.

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153. Plaintiff asked Romana for a telephone number to call her back to which
she provided as 615-471-8005.

154. Romana then hesitated and said that the telephone number may be wrong
and placed Plaintiff on hold for over a minute.

155. When Romana came back onto the line, she said that her supervisor
would be calling Plaintiff and for Plaintiff to “hang up right away” so that the
supervisor can call.

156. After Plaintiff hung up, Plaintiff did not receive the promised return call.

157. After the call terminated, Plaintiff dialed the caller identification number
displayed (516-667-9272) and the call was answered by recording stating “Your call
is very important to us, please hold the line” followed by recorded piano music. After
5 minutes of remaining on hold, Plaintiff terminated the call.

158. After the call terminated, Plaintiff dialed the telephone number which
Romana had provided (615-471-8005) which call was answered by a recording
stating “We are sorry, the toll free number you have dialed in not available from your
calling area.”

Subsequent Investigation
159. On May 22, 2023, at approximately 10:11 A.M. Plaintiff continued his

investigation by again calling telephone number 615-667-9272. The call was

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answered by a female who identified herself as “Emma from the Camp Lejeune
National Intake Center.”

160. Plaintiff made demand to Emma to be provided a copy of their written do
not call policy and Emma attempted to dodge the question, stating that the supervisor
- named Juan - would call Plaintiff back. Plaintiff received no call back.

161. On May 22, 2023, at 10:50 A.M., Plaintiff again called telephone number
615-667-9272 and now received a recorded message stating that “The number you
have dialed is not in service. Please check the number and dial again. Goodbye.”

162. On May 22, 2023, at 10:52 A.M., Plaintiff utilized a different telephone
line to call telephone number 615-667-9272 and, this call was answered by the same
Emma that Plaintiff had spoken to approximately 40 minutes earlier. Plaintiff asked
to speak with “Juan” and was told by Emma that Juan would call back later and then
immediately hung up.

Additional Calls

163. Plaintiff has reason to believe and does believe that there are additional
calls which Defendants or Defendants’ third-party telemarketer initiated to Plaintiff's
residential telephone number which calls Plaintiff answered by the caller immediately
hung up on Plaintiff which calls are known to Defendants or Defendants’ third-party

telemarketer and which will be identified during discovery. After discovery, Plaintiff

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intends to seek leave to file an amended complaint to seek damages for the additional
calls which are identified.

COUNT I
VIOLATION OF THE TCPA - ABANDONED CALL

172. Plaintiff incorporates the allegations of paragraphs | through 171, supra.

173. Each of Calls 1 through 7, supra, were in violation of the TCPA
implementing regulations, specifically 47 C.F.R. § 64.1200(a)(7)(i), as Defendant or
Defendant’s agent initiated a telephone call to Plaintiff's residential telephone line
and a live sales representative was not available to speak with the person answering
the call within two (2) seconds after the called person’s completed greeting.

174. The aforesaid violations of the TCPA were wilful and/or knowing as is
evidenced by the repeated number of calls.

COUNT II
VIOLATION OF THE TCPA - DO NOT CALL

175. Plaintiff incorporates the allegations of paragraphs | through 171, supra.
176. Each of Calls 1 through 8, supra, were in violation of the TCPA
implementing regulations, specifically 47 C.F.R. § 64.1200(c)(2), as Defendants or
Defendants’ agent initiated a telephone solicitation to a residential telephone
subscriber who has registered his telephone number on the national do-not-call

registry of persons who do not wish to receive telephone solicitations that is

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maintained by the Federal Government.
177. The aforesaid violations of the TCPA were wilful and/or knowing as is
evidenced by the repeated number of calls.

COUNT II
VIOLATION OF THE TCPA - FALSE IDENTITY

178. Plaintiff incorporates the allegations of paragraphs | through 171, supra.

179. Each of Calls 1 through 8, supra, were in violation of the TCPA
implementing regulations, specifically 47 C.F.R. § 64.1200(d)(3), as Defendants or
Defendants’ agent entity making the call for telemarketing purposes did provide the
called party with the name of the individual caller, the name of the person or entity
on whose behalf the call is being made, and a telephone number or address at which
the person or entity may be contacted.

180. The aforesaid violations of the TCPA were wilful and/or knowing as is
evidenced by the repeated number of calls.

COUNT IV
VIOLATION OF THE TCPA - SPOOFED CALLER ID

181. Plaintiff incorporates the allegations of paragraphs 1 through 171, supra.
182. Each of the Calls 1 through 8, supra, were in violation of the TCPA
implementing regulations, specifically 47 C.F.R. § 64.1601(e)(1), as Defendants

and/or Defendants’ agents failed to provide caller identification information

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displaying a telephone number which would permit any individual to make a
do-not-call request during regular business hours.

183. The Defendants had to take deliberate and overt action to manipulate the
telephone network equipment to provide false caller identification information,
therefore the aforesaid violation of the TCPA was wilful and/or knowing.

COUNT V
VIOLATION OF THE MTCCCA

184. Plaintiff incorporates the allegations of paragraphs 1| through 171, supra.
185. Each of the Calls 1 through 8, supra, were in violation of the MTCCCA,
specifically M.C.L. § 484.125(2)(b), as Defendant or Defendant’s agent delivered or
attempted to deliver intrastate commercial advertising having activated a feature to
block the display of caller identification information that would otherwise be

available to the subscriber.

COUNT VI
VIOLATION OF THE MHSSA

186. Plaintiff incorporates the allegations of paragraphs 1 through 171, supra.
187. Each of Calls 1 through 8, supra, were in violation of the MHSSA,
specifically M.C.L. § 445.111a(5), as Defendants or Defendants’ agent made a
telephone solicitation to a residential telephone subscriber whose name and

residential telephone number is on the federal do-not-call list; and/or M.C.L.

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445.111b(1), as the person making the telephone solicitation did not state his or her
name and the full name of the organization or other person on whose behalf the call
was initiated; and/or M.C.L. 445.111b(3), as the telephone solicitor intentionally
blocked or otherwise interfered with the caller identification function on the
telephone of a residential telephone subscriber to whom a telephone solicitation is
made so that the telephone number of the caller is not displayed on the telephone of
the residential telephone subscriber.
PRAYER FOR RELIEF

WHEREFORE, the aforesaid premises considered, Plaintiff prays that this
Court enter a judgment for Plaintiff and against the Defendants, jointly and severally,
as follows:

A. Damages:

i. Damages for violations of the TCPA alleged:

Count Violations
I 7
II 8
III 8
IV 8

A total of 31 violations at $500 per violation
for damages of $15,500.00, which amount

shall be trebled because the violations were

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willful and/or knowing, for total damages of
$46,500.00.
ii. Damages for violations of the MTCCCA
alleged at Count V: 8 violations at $1,000 per
violation, for damages of $8,000.00.
iii. Damages for violations of the MHSSA
alleged at Count VI: 8 violations at $250 per
violation, for damages of $2,000.00.
The cumulative total amount of damages claimed in this
action is $56,500.00,and in the event of default judgment
is the sum certain damages amount that will be sought.
B. An award of Plaintiff’s taxable costs and disbursements incurred in the
filing and prosecution of this action;
C. An injunction enjoining Defendants from initiating any telephone calls to
Plaintiffs residential telephone and cellular telephone lines.
D. Interest accruing from the date of filing until paid at the statutory rate; and,
E. Such other and further relief as this Court deems necessary, reasonable,

prudent and proper under the circumstances.

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Respectfully submitted,

Prach._Wwed Sbbrerunhy

Dated: May 22, 2023

 

Mark W. Dobronski

Post Office Box 85547

Westland, Michigan 48185-0547
Telephone: (734) 330-9671

Email: markdobronski@yahoo.com
Plaintiff In Propria Persona

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MARK W. DOBRONSKI
POST OFFICE BOX 85547
WESTLAND, MICHIGAN 48185-0547
(734) 330-9671
markdobronski@yahoo.com

May 22, 2023

United States District Court

Attn: Clerk’s Office

231 West Lafayette Boulevard, 5" Floor
Detroit, Michigan 48226-2700

Re: NEW FILING
Mark W. Dobronski v. Milberg Coleman Bryson Phillips Grossman, PLLC, et
al.
Dear Sir or Madam:

Enclosed please find:

° Check number 5241, in the amount of $402.00,
representing the filing fee required for the above-

case;
° Civil Cover Sheet
° Complaint; and,
° Four (4) Summonses

Please file the complaint in your usual course and return signed Summonses to the
attention of the undersigned.

Thank you for your attention to this matter.
Very truly yours,
Wrench We Sp aeerahee
Mark W. Dobronski

MWD/hp

 
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

I.

(a) PLAINTIFFS

MARK W. DOBRONSKI

(b) County of Residence of First Listed Plaintiff

ORANGE, FL

a

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attormeys (Firm Name, Address, and Telephone Number)
PRO SE

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DEEN an BRYSON PHILLIPS GROSSMAN, PLLC;

MARC J. BERN & PARTNERS LLP;
BIRGER KRISTIAN W. RASMUSSEN Hil; PATRICK MATTHEW WALLACE

NOTE:
THE TRACT

Attorneys (If Known)

 

County of Residence of First Listed Defendant

KNOX, TN

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

 

II. BASIS OF JURISDICTION (Place an “X"’ in One Box Only)

O

0

1 U.S. Government
Plaintiff

2 U.S. Government
Defendant

a 3 Federal Question

(U.S. Government Not a Party)

(4 Diversity

(Indicate Citizenship of Parties in Item III)

 

IV. NATURE OF SUIT (Place an “x” in One Box Only)

(For Diversity Cases Only)

PTF

D

Citizen of This State

Citizen of Another State

Oo
tL)

Citizen or Subject of a
Foreign Country

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

DEF

1 OJ

Incorporated or Principal Place

DEF

oO

PTF

D4

of Business In This State

2

CO 2 Incorporated and Principal Place

Os Os

of Business In Another State

3 [2] 3 Foreign Nation

Click here for:

 

CONTRACT.

TORTS

FORFEITURE/PENALTY

 

A

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[___REACPROFERTY

 

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran's Benefits

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

PERSONAL INJURY
310 Airplane
315 Airplane Product
Liability
[J 320 Assault, Libel &
Slander
rT] 330 Federal Employers’
Liability
340 Marine
345 Marine Product
Liability
350 Motor Vehicle
355 Motor Vehicle
Product Liability
[-] 360 Other Personal
Injury
|] 362 Personal Injury -
Medical Malpractice

PERSONAL INJURY
[LJ 365 Personal Injury -
Product Liability
[7] 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability
[CJ 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
Hi 371 Truth in Lending
[J 380 Other Persona!
Property Damage
(2) 385 Property Damage
Product Liability

[_] 625 Drug Related Seizure
of Property 21 USC 881
J] 690 Other

ABOR
J 710 Fair Labor Standards
Act
Tr) 720 Labor/Management
Relations
740 Railway Labor Act
751 Family and Medical
Leave Act
790 Other Labor Litigation

 

 

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

445 Amer. w/Disabilities -
Employment

446 Amer. w/Disabilities -
Other

448 Education

Habeas Corpus:

463 Alien Detainee

510 Motions to Vacate
Sentence

530 General

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

791 Employce Retirement
Income Security Act

| ___ IMMIGRATION. _|

462 Naturalization Application
465 Other Immigration

Actions

 

 

422 Appeal 28 USC 158
423 Withdrawal
28 USC 157

 

PERT)

 

820 Copyrights

830 Patent

835 Patent - Abbreviated
New Drug Application

840 Trademark

880 Defend Trade Secrets
Act of 2016

861 HIA (1395ff)

862 Black Lung (923)

863 DIWC/DIWW (405(g))
864 SSID Title XVI

865 RSI (405(g))

or Defendant)
[7] 871 IRS—Third Party
26 USC 7609

 

870 Taxes (U.S. Plaintiff

 

 

 

Os Os

Nature of Suit Code Descriptions.
BANKRUPTCY OTHER STATUTES

375 False Claims Act

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

480 Consumer Credit
(15 USC 1681 or 1692)

485 Telephone Consumer
Protection Act

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

 

V. ORIGIN (Place an “X”’ in One Box Only)

VI. CAUSE OF ACTION

1 Original
Proceeding

VIL REQUESTED IN

COMPLAINT:

2 Removed from
State Court

47 U.S.C. 227

 

(C] CHECK IF THIS

3 Remanded from
Appellate Court

Brief description of cause:
ILLEGAL TELEMARKETING CALLS

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

4 Reinstated or 5 Transferred from
0 D Another District
(specify)

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

DEMAND $ 56,500.00

Transfer

6 Multidistrict
Litigation -

oO 8 Multidistrict
Litigation -
Direct File

CHECK YES only if demanded in complaint:

JURY DEMAND:

DOCKET NUMBER

 

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DATE
May 22, 2023

FOR OFFICE USE ONLY

RECEIPT #

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IGNATURE OF ATTORNEY OF RECORD.

APPLYING IFP

WscSth overseer

MAG. JUDGE

 
Case 2:23-cv-11232-DPH-KGA ECF No. 1, PagelD.43 Filed 05/25/23 Page 43 of 44
PURSUANT TO LOCAL RULE 83.11

1. Is this a case that has been previously dismissed? [ ] Yes
If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

2. Other than stated above, are there any pending or previously
discontinued or dismissed companion cases in this or any other [ ] Yes
court, including state court? (Companion cases are matters in which [a] No
it appears substantially similar evidence will be offered or the same
or related parties are present and the cases arise out of the same

transaction or occurrence.)
If yes, give the following information:

Court:

 

Case No.:

 

Judge:

 

Notes :

 
 

{drow Filed 05/96/23 Page 44 of 44

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